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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 UNITED STATES OF AMERICA,



 v.                                                        Case No. 8:09-CR-585-T-24TBM


 ELI HECKSCHER
 ______________________________________/

                                            ORDER

        This cause comes before the Court on the Government’s Request for Leave to Dismiss

 Indictment (Dkt. 474). Pursuant to Federal Rule of Criminal Procedure 48(a), the Government

 requests leave of the Court to dismiss the Superseding Indictment pending against Defendant Eli

 Heckscher, without prejudice.

        Upon consideration, it is ORDERED AND ADJUDGED that the Government’s Request

 for Leave to Dismiss Indictment (Dkt. 474) is GRANTED. With respect to Defendant Eli

 Heckscher, the Superseding Indictment (Dkt. 122) is hereby DISMISSED without prejudice. The

 Clerk is directed to CLOSE this case.

        DONE AND ORDERED at Tampa, Florida, this 22nd day of June, 2015.




 Copies To: Counsel of Record and Parties
